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Election Identification Certificates
County Participation

| Day/Week | Date

Region 1A

Region 1B

Region 2A

Region 2B

Region 3

Region 4

Region 5

Region 6A

Region 6B

Jack County
Law Enforcement Center
1432 Old Post Oak RD, Jacksboro, TX
EIC Unit 47

Roberts County
300 E Commercial, Miami, TX
EIC Unit 49

[Tuesday | 22 Oct

Somervell County
Somervell County Offices
107 Vernon, Glen Rose, TX

Sabine County
County Administration Building
280 Main ST, Hemphill, TX

Real County
County Courthouse
146 Highway 83 S, Leakey, TX

Borden County
County Courthouse
117 E Wassom, Gail, TX

Armstrong County
Courthouse Basement
287 and Trice, Claude, TX

Goliad County
Tax Assessor Collectors Office
329 Franklin, Goliad, TX

Blanco County
Trinity Lutheran Church
703 N Main ST, Blanco, TX

EIC Unit EIC Unit 98 EIC Unit EIC Unit 33 EIC Unit 59 EIC Unit EIC Unit 42
Crockett County Briscoe County Jackson County
County Courthouse 415 Main. Silverton. TX County Annex DPS Office
909 Avenue D, Ozona, TX EIc Unit 61 ’ 411 N Wells, Edna, TX
EIC Unit 34 EIC Unit
Hudspeth County ; olay, Scany
525 N Wilson ST, Sierra Blanca, TX Commissioner sion oor
EIC Unit 26 214 N Main, Henrietta, TX
EIC Unit 57
Collingsworth County
County Courthouse
800 West AVE, Wellington, TX
EIC Unit 58
Garza County
Old Driver License Office
300 W Main, Post, TX
EIC Unit 56
Jack County
Law Enforcement Center
1432 Old Post Oak RD, Jacksboro, TX
EIC Unit 47
Roberts County
300 E Commercial, Miami, TX
EIC Unit 49
[Wednesday | 23 Oct
Gane ae ee rulains Sabine County Edwards County Coke County Armstrong County Goliad County Blanco County
415 North AVE, Pittsburg, TX County Administration Building Sheriff's Office County Courthouse Courthouse Basement Tax Assessor Collectors Office Trinity Lutheran Church
Noone 5 ’ 280 Main ST, Hemphill, TX 404 W Austin, Rock Springs, TX 13 E 7th ST, Robert Lee, TX 287 and Trice, Claude, TX 329 Franklin, Goliad, TX 703 N Main ST, Blanco, TX
pean al EIC Unit 98 EIC Unit EIC Unit 36 EIC Unit 59 EIC Unit EIC Unit 42
EIC Unit 91
Franklin County
cule Sab Gotnune elude pet county. Briscoe County Bana ces one
502 E Main, Mount Vernon, TX : 925 N Wilson ST, Sierra Blanca, TX 415 Main, Silverton, TX
146 Highway 83 S, Leakey, TX . . 411 N Wells, Edna, TX
10 am. -2 p.m. EIC Unit EIC Unit 26 EIC Unit 61 EIC Unit
EIC Unit 92
Clay County

Commissioners Court Room
214 N Main, Henrietta, TX
EIC Unit 57

Collingsworth County
County Courthouse
800 West AVE, Wellington, TX
EIC Unit 58

Garza County
Old Driver License Office
300 W Main, Post, TX
EIC Unit 56

Jack County
Law Enforcement Center
1432 Old Post Oak RD, Jacksboro, TX
EIC Unit 47

Roberts County
300 E Commercial, Miami, TX
EIC Unit 49

[Thursday | 24 Oct

Current as of 171000 October 2013

Camp County
Camp County Annex Building
115 North AVE, Pittsburg, TX
10 am.-2p.m.

Somervell County
Somervell County Offices
107 Vernon, Glen Rose, TX

Sabine County
County Administration Building
280 Main ST, Hemphill, TX

Kinney County
County Courthouse
501 S Ann ST, Brackettville, TX

Concho County
City Council Chambers
120 Paint Rock ST, Eden, TX

Armstrong County
Courthouse Basement
287 and Trice, Claude, TX

Goliad County
Tax Assessor Collectors Office
329 Franklin, Goliad, TX

Blanco County
District Court Room #23 on 2nd Floor
101 E Pecan ST, Johnson City, TX

: EIC Unit EIC Unit 98 EIC Unit EIC Unit 29 EIC Unit 59 EIC Unit EIC Unit 42
EIC Unit 91
Franklin County
oe coun pce peleouny Bilecoe counly AauniRRER DBS Orbe TX secinrera auneneenicce
502 E Main, Mount Vernon, TX 525 N Wilson ST, Sierra Blanca, TX 415 Main, Silverton, TX
’ ’ i ; 411 N Wells, Edna, TX 423 E Wallace ST, San Saba, TX
10 am.-2p.m. EIC Unit 26 EIC Unit 61 EIC Unit Eic Unit 44
EIC Unit 92
Clay County

Commissioners Court Room
214 N Main, Henrietta, TX
EIC Unit 57

Collingsworth County
County Courthouse
800 West AVE, Wellington, TX
EIC Unit 58

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TEX0506121
